                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

 JOHN DOE,                                       )
                                                 )
         Plaintiff,                              )
                                                 )
 v.                                              )   No.: 3:18-CV-00411-DCP
                                                 )
 ROSS UNIVERSITY SCHOOL                          )
 OF MEDICINE, ADTALEM                            )
 CORPORATION,                                    )
                                                 )
         Defendants.                             )


                      FINAL JUDGMENT OF DISMISSAL WITH PREJUDICE

       The Court has considered the Agreed Motion to Dismiss with Prejudice filed in this matter

and finds that the motion is well founded and should be granted.

       IT IS HEREBY ORDERED that this action is dismissed in its entirety with prejudice to

the right of any party to assert against any other party any claim or cause of action based on,

relating to, or arising out of, the subject matter of this action, or relating to or arising out of the

subject matter of any motion brought by any party in this action.

       This judgment fully and finally disposes of all parties and all claims and is in all respects

final and appealable.

       IT IS SO ORDERED.

                                                       ENTER:

                                                       _________________________
                                                       Debra C. Poplin
                                                       United States Magistrate Judge




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